Case 2:04-cv-02181-.]PI\/|-tmp Document 130 Filed 08/23/05 Page 1 of 3 Page|D 171

HLED B‘f, ____% U.c.

IN THE UNITED sTATES DISTRICT COUMAuc-: 23 mt 5= 53
FoR THE wESTERN DISTRICT oF TENNESSEE

 

 

THOMAB M. GOU\D
WESTERN DIVISION CM U_S mgch MT
Wi.@ cj:=F **_§'-tPHlS

COMMODITY FUTURES TRADING *
COMMISSION, *
*

Plaintifi`, * Case No. 04~2181 D An
*
vs. *
*
FXTRADE FINANCZAL, LLC., et al., *
*
Defendants. *
*
JOSEPH J. CECALA, JR., *
*
Relief Defendant. *
*
*

ORDER OF REFERENCE

 

Before the court is Plaintiff's Contempt Motion Agairlst Catherine Mischler and Steven
Sibbitt, Sr. for Failure to Comply with Subpoenas Duces Tecum filed on August 18, 2005, in this
case.

This matter is hereby referred to the United States Magistrate Judge for a Report and
Recommendation. Any exceptions to the Magistrate Judge’s order Shall be made by motion within

ten (10) days of the order. Further, all exceptions shall be stated with particularity

IT ls So 0RDERED this 23_ day 0£(; ¢ 5,.,,£ 2005.

B RNICE B. ON D
NITED STATES DISTRICT JUDG .

     

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 130 in
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Honorable Bernice Donald
US DISTRICT COURT

